                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE
______________________________________________________________________________

YVONNA BROWN, individually and on behalf of
all others similarly situated,

       Plaintiff,

vs.                                                   Civil Action No.:______________________
                                                      COMPLAINT-CLASS ACTION

                                                      JURY TRIAL DEMANDED

CASH TECHNOLOGIES OF AMERICA, CORP.
and TENT RESTAURANT OPERATIONS, INC,

      Defendants.
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________


       Plaintiff Yvonna Brown, individually, and on behalf of all others similarly situated

(“Plaintiff”), alleges upon knowledge with respect to herself and upon information and belief

based, in part, on the investigation of counsel, as follows:

                              I.    PRELIMINARY STATEMENT

       1.      Plaintiff brings this action, individually and on behalf of all others similarly

situated, against Defendants alleging violations of 15 U.S.C. § 1693 et seq., which is commonly

known as the Electronic Fund Transfer Act and 12 C.F.R. § 205 et seq., commonly known as

Regulation E, which contains regulations promulgated by the Board of Governors of the Federal

Reserve System to implement the Act (the Act and Regulation E shall hereinafter be collectively

referred to as the “EFTA”).




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       2.      The EFTA establishes the basic rights, liabilities, and responsibilities of

consumers who use electronic fund transfer services and of financial institutions that offer these

services. The primary objective of the EFTA and Regulation E is the protection of consumers

engaging in electronic fund transfers. 12 C.F.R. § 205.1(b).         The EFTA requires specific

disclosures be given by operators of automated teller machines (“ATMs”) to users of ATMs,

prior to the imposition of a fee for using an ATM. 15 U.S.C. § 1693b.

       3.      The Congressional findings and declaration of purpose regarding the EFTA

provides:

       (a)     Rights and liabilities undefined

               The Congress finds that the use of electronic systems to transfer funds provides
               the potential for substantial benefits to consumers. However, due to unique
               characteristics of such systems, the application of existing consumer protection
               legislation is unclear, leaving the rights and liabilities of consumers, financial
               institutions and intermediaries in electronic fund transfers undefined.
       (b)     Purposes
               It is the purpose of this subchapter to provide a basic framework establishing the
               rights, liabilities, and responsibilities of participants in electronic fund transfer
               systems. The primary objective of this subchapter, however, is the provision of
               individual consumer rights

       4.      The EFTA specifically requires that ATM machines must have a posted notice

attached on or at the machine informing consumers of the imposition of an ATM surcharge. 15

U.S.C. § 1693b(d)(3).

       5.      This case is brought under the EFTA based upon the fact that Defendants have

imposed ATM fees without providing any posted notice as required by the EFTA.

       6.      Plaintiff, on behalf of herself and all others similarly situated, brings this action

against Defendants based on Defendants’ violation of the EFTA. Plaintiff seeks, on behalf of

herself and the proposed class, statutory damages, costs and attorney’s fees, all of which are

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expressly made available by statute, 15 U.S.C. § 1693m. Plaintiff does not seek actual damages.

Plaintiff also seeks a permanent injunction enjoining Defendants from continuing its unlawful

practice of negligently, willfully, or knowingly violating the provisions of the EFTA which

prohibit the improper imposition of ATM fees.

                                       II.      PARTIES

       7.      Plaintiff is a natural person who resides in Robertson County, Tennessee and used

certain ATM owned and operated by Cash Technologies of America, Corp. and/or Tent

Restaurant Operations, Inc located at Bailey’s Bar and Grill, 786 Rivergate Pky, Goodlettsville,

Tennessee (hereinafter, the “Cash ATM”), within one year of the filing of this Complaint, and

was charged an ATM surcharge fee at the ATM described in this paragraph..

       8.      Defendants Cash Technologies of America, Corp. and/or Tent Restaurant

Operations, Inc also own and operate the Cash ATM located at Bailey’s Bar and Grill, 408

Broadway, Nashville, Tennessee; and Defendant Cash Technologies of America, Corp owns

and/or operates an ATM located at J&J Market 2006 Belcourt Ave., Nashville,

Tennessee(hereinafter, the “Cash ATMs”), within one year of the filing of this Complaint,

charged ATM surcharge fees as described in this Complaint and did not have a posted notice as

alleged in this Complaint.

       9.      Defendant Cash Technologies of America, Corp. (hereinafter “Cash”) is a Texas

corporation doing business in Tennessee. Cash may be served through its President and CEO,

Jon Bangash, at its registered office, 17117 W. Walnuthill In # 105, Las Colinas, Texas 75038.

       10.     Defendant Tent Restaurant Operations, Inc.(hereinafter “Tent”) is a Delaware

corporation doing business in Tennessee. Tent may be served through its registered agent in

Tennessee, CT Corporation System, 800 S Gay Street, Suite 2021, Knoxville, Tennessee 37929.


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                            III.    JURISDICTION AND VENUE

       11.     This Court has federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1337 and 15 U.S.C. 1693m(g) because this action arises under the Electronic Fund Transfers

Act, 15 U.S.C. § 1693 et seq.

       12.     Venue in this judicial district is proper under 28 U.S.C. § 1391 in that this is the

judicial district in which a substantial part of the events or omissions giving rise to the claims

occurred.

                                    IV.     BACKGROUND

A. Electronic Funds Transfer Act

       13.     “Electronic funds transfer” is defined as “any transfer of funds . . . which is

initiated through an electronic terminal, telephonic instrument, or computer or magnetic tape so

as to order, instruct, or authorize a financial institution to debit or credit an account. Such term

includes . . . automated teller machine transactions . . . .” 15 U.S.C. § 1693a(6); see also 12

C.F.R. § 205.3(b).

       14.     Defendants are an “automated teller machine operator” as that term is defined by

12 C.F.R. § 205.16(a), which states: “Automated teller machine operator means any person that

operates an automated teller machine at which a consumer initiates an electronic fund transfer or

a balance inquiry and that does not hold the account to or from which the transfer is made, or

about which an inquiry is made.”

       15.     15 U.S.C. § 1693b(d)(3)(A) and (B), and the implementing regulation, 12 C.F.R.

§ 205.16(b) and (c), require an ATM operator who imposes a fee on a consumer for “host

transfer services” (an electronic fund transfer or a balance inquiry) to provide notice to the




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consumer of the fee before the consumer is committed to the transaction. Specifically, 12 C.F.R.

§ 205.16(b) states:

               General. An automated teller machine operator that imposes a fee
               on a consumer for initiating an electronic fund transfer or a balance
               inquiry shall:

               (1)     Provide notice that a fee will be imposed for providing
               electronic fund transfer services or a balance inquiry; and

               (2)    Disclose the amount of the fee.

       16.     15 U.S.C. § 1693b(d)(3)(B), and its implementing regulation, 12 C.F.R. §

205.16(c), specifies the notice to be provided to consumers. 12 C.F.R. § 205.16(c) states:

               (c)     Notice requirement. To meet the requirements of paragraph (b) of
               this section, an automated teller machine operator must comply with the
               following:

                      (1)     On the machine. Post in a prominent and conspicuous
                      location on or at the automated teller machine a notice that:

                              (i) A fee will be imposed for providing electronic fund
                              transfer services or for a balance inquiry; or

                              (ii) A fee may be imposed for providing electronic fund
                              transfer services or for a balance inquiry, but the notice in
                              this paragraph (c)(1)(ii) may be substituted for the notice in
                              paragraph (c)(1)(i) only if there are circumstances under
                              which a fee will not be imposed for such services; and

                      (2)     Screen or paper notice. Provide the notice required by
                      paragraphs (b)(1) and (b)(2) of this section either by showing it on
                      the screen of the automated teller machine or by providing it on
                      paper, before the consumer is committed to paying a fee.

       17.     Pursuant to this regulation, the notice physically attached to the ATM must

comply with 12 C.F.R. § 205.16(c), either by stating that a fee will be imposed, or if there are

circumstances in which a fee will not be imposed, that a fee may be imposed.




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       18.     15 U.S.C. § 1693b(d)(3)(C), and its implementing regulation, 12 C.F.R. §

205.16(e), provide that no fee may be imposed by an ATM operating in connection with any

electronic fund transfer initiated by a consumer for which a notice is required unless the

consumer is provided the notices required pursuant to 12 C.F.R. § 205.16(c). Specifically, 15

U.S.C. § 1693b(d)(3)(C) states in relevant part:

               (C) Prohibition on fees not properly disclosed and explicitly
               assumed by consumer. No fee may be imposed by any automated
               teller machine operator in connection with any electronic fund
               transfer initiated by a consumer for which a notice is required
               under subparagraph (A), unless – (i) the consumer receives such
               notice in accordance with subparagraph (B); and (ii) the consumer
               elects to continue in the manner necessary to effect the transaction
               after receiving such notice.

Similarly, 12 C.F.R. § 205.16(e) provides that:

               (e) Imposition of fee. An automated teller machine operator may
               impose a fee on a consumer for initiating an electronic fund
               transfer or a balance inquiry only if

               (1) The consumer is provided the notices required under paragraph
               (c) of this section, and

               (2) The consumer elects to continue the transaction or inquiry
               after receiving such notices.

       19.     In connection with 2006 amendments to the EFTA, the Board of Governors of the

Federal Reserve published its Final Rule and official staff interpretation which, inter alia,

explained the EFTA's disclosure requirements as follows:

       The final rule clarifies the two-part disclosure scheme established in Section
       904(d)(3)(B) of the EFTA. The first disclosure, on ATM signage posted on or
       at the ATM, allows consumers to identify quickly ATMs that generally charge a
       fee for use. This disclosure is not intended to provide a complete disclosure of
       the fees associated with the particular type of transaction the consumer seeks to
       conduct. Until a consumer uses his or her card at an ATM, the ATM operator
       does not know whether a surcharge will be imposed for that particular consumer.
       Rather, it is the second, more specific disclosure, made either on the ATM screen
       or an ATM receipt, that informs the customer before he or she is committed to the

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       transactions whether, in fact, a fee will be imposed for the transaction and the
       amount of the fee….

       71 F.R. 1638, 1656 (emphasis added).

       20.     Thus, the statute and regulation require that a physical notice must be displayed

informing consumers that the ATM imposes a surcharge and that the ATM screen must

definitively state that a fee will be imposed, before that fee is imposed.

       21.     The EFTA imposes strict liability upon ATM operators that fail to comply with its

disclosure requirements. See Burns v. First American Bank, 2006 WL 3754820, *6 (N.D. Ill.

Dec. 19, 2006). A plaintiff seeking statutory damages under the EFTA need not prove that he or

she sustained any actual financial loss, or that he or she relied upon the lack of mandatory

disclosure as an inducement to enter into a transaction. Burns, 2006 WL 3754820, *6 ("Section

1693b(d)(3) prohibits an ATM operator from charging a fee unless it provides notice of its fee on

the machine and on the screen, period, no mention of a necessary scienter.")

       22.     The notice referenced in 15 U.S.C. § 1693f has no arguable applicability to

Plaintiff's claims because, among other things, Plaintiff is not an account holder of Defendants.

B. Defendants' Conduct

       23.     Defendants are ATM operators regulated under the EFTA, 15 U.S.C. § 1693 et

seq. and 12 C.F.R. Part 205 (Regulation E), as that term is defined in 12 C.F.R. § 205.16(a).

       24.     Defendants own and operate the Cash ATMs located at (1)786 Rivergate Pky.,

Goodlettsville, Tennessee; (2) 408 Broadway, Nashville, Tennessee_; and Defendant Cash owns

and/or operates the ATM located at (3) 2006 Belcourt Ave., Nashville, Tennessee.

       25.     The Cash ATMs permit consumers to perform electronic fund transfers, as

defined in 12 C.F.R. § 205.3.



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        26.    The Cash ATMs impose a fee on consumers who withdraw cash from the Cash

ATMs.

        27.    Defendants failed to post on or at the Cash ATMs a notice that a fee will be

imposed for withdrawing cash or for a balance inquiry, resulting in Defendants’ improper

imposition of a fee to users of the Cash ATMs.

        28.    Defendants’ failure to post the required notice on or at the Cash ATMs has

resulted in frequent and persistent non-compliance with the EFTA. Said violations of the EFTA

have adversely affected hundreds or thousands of consumers.

        29.    Despite knowing of the ATM fee notice provisions of the EFTA, Defendants have

intentionally violated and continue to violate the EFTA by failing to post the required ATM fee

notice at the Cash ATMs and improperly imposing ATM fees.

        30.    Defendants’ non-compliance with the ATM fee notice requirements of the EFTA,

and subsequent imposition of a fee, did not result from a bona fide error.

C.      Plaintiff's Electronic Funds Transfers With Defendants

        31.    Plaintiff is a consumer as defined in 12 C.F.R. § 205.2(e).

        32.    In Sept., 2010, Plaintiff used the Cash ATM located at 786 Rivergate Pky. in

order to conduct an electronic funds transfer involving the withdrawal of cash.

        33.    The Cash ATMs did not and do not have the fee notice required by 15 U.S.C. §

1693b(d)(3) and 12 C.F.R. § 205.16 as they did not have any sign affixed to them or in close

proximity to them informing consumers that use of the Cash ATMs will or may result in an

ATM surcharge.

        34.    Plaintiff was in fact assessed a $2.95 ATM surcharge fee for withdrawing cash

from the Cash ATM located at786 Rivergate Pky., Goodlettsville, Tennessee.


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                                      V.      CLASS ALLEGATIONS

       35.     Plaintiff brings this class action on behalf of herself and all other similarly

situated persons pursuant to Rule 23(a), (b)(1), (b)(3) of the Federal Rules of Civil Procedure.

Plaintiff hereinafter sets forth facts and allegations more specifically in support of her class

action allegations.

       36.     Plaintiff seeks to represent a class of similarly situated persons, consisting of (a)

all consumers (b) who initiated an electronic funds transfer at the Cash ATMs described in ¶¶ 7

and 8 and (c) were assessed a fee for withdrawing cash from any Cash ATMs described in ¶¶ 7

and 8, (d) on or after the date one year prior to the filing of this action and continuing through the

trial of this cause or until the Defendants is compliant with the ETFA by posting the appropriate

notice. (the “Class”).

       37.     Congress expressly intended that the EFTA would be enforced, in part, through

private class actions. 15 U.S.C. § 1693m(a).

       38.     Plaintiff is informed and believes, and thereon alleges, that there are at minimum,

hundreds of members of the Class.

       39.     The exact size of the Class and the identities of the individual members thereof

are ascertainable through Defendants records.         Defendants have exclusive control of this

information.

       40.     Members of the Class may be notified of the pendency of this action by

techniques and forms commonly used in class actions, such as by published notice, e-mail notice,

website notices, first class mail, or combinations thereof, or by other methods suitable to this

class and deemed necessary and/or appropriate by this Court.




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        41.     The Class is sufficiently numerous to make bringing all parties before the Court

impractical pursuant to Rule 23(a)(1) of the Federal Rules of Civil Procedure.

        42.     Defendants can generate data for its ATM identifying each transaction in which a

fee was charged. The data will include the date of the transaction, the amount of the fee and the

personal account number (“PAN”) for the consumer. The PAN includes a bank identification

number (“BIN”). This information can be used to identify class members.

        43.     Plaintiff’s claims are typical of the claims of the members of the Class. The

claims of the Plaintiff and members of the Class are based on the same legal theories and arise

from the same unlawful conduct. Plaintiff and Class members seek recovery of statutory, not

actual, damages.

        44.     Plaintiff and members of the Class were each users of the Cash ATMs since the

date one year prior to the filing of this action.

        45.     Plaintiff and each member of the Class were illegally charged an ATM fee as a

result of Defendants’ failure to comply with the ATM fee notice requirements of the EFTA.

        46.     Plaintiff and each class member received an inadequate notice regarding the

imposition of an ATM fee by the Cash ATMs.

        47.     The questions of law and fact common to the Class, pursuant to Rule 23(b)(2) of

the federal Rules of Civil Procedure, predominate over questions which may affect individual

members, including:

                (a)     Whether Defendants were at all relevant times during the class period an
                        automated teller machine operator which imposed a fee on consumers for
                        providing host transfer services to those consumers;

                (b)     Whether Defendants are the operators of the Cash ATMs;

                (c)     Whether Defendants complied, at all times during the class period, with
                        the notice requirements of 15 U.S.C. § 1693b(d)(3) and 12 C.F.R. §
                        205.16; and
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               (d)     Whether Plaintiff and members of the Class are entitled to statutory
                       damages, costs and attorney’s fees for Defendants’ acts and conduct.

        48.    Plaintiff can and will adequately and vigorously represent and protect the interests

of the members of the Class. Plaintiff has no interests antagonistic to the members of the Class.

Plaintiff has retained counsel able, competent and qualified to prosecute this class action

litigation as set forth in Rule 23(a)(4) of the Federal Rules of Civil Procedure.

        49.    Plaintiff and Plaintiff’s counsel will fairly and adequately protect the interests of

the class.

        50.    In support of Plaintiff’s allegations pursuant to Rule 23(b)(3) of the Federal Rules

of Civil Procedure, the Plaintiff avers the a class action is superior to other available means for

the fair and efficient adjudication of the claims of the Class. While the aggregate damages that

may be awarded to the members of the Class are likely to be substantial, the damages suffered by

the individual members of the Class are relatively small. As a result, the expense and burden of

individual litigation makes it economically infeasible and procedurally impracticable for each

member of the Class to individually seek redress for the wrongs done to them. Plaintiff does not

know of any other litigation concerning this controversy already commenced by or against any

member of the Class.      The likelihood of the individual members of the Class prosecuting

separate claims is remote. Pursuant to Rule 23(b)(1)(A) of the Federal Rules of Civil Procedure,

individualized litigation would also present the potential for varying, inconsistent, or

contradictory judgments, and would increase the delay and expense to all parties and the court

system resulting from multiple trials of the same factual issues. In contrast, the conduct of this

matter as a class action presents fewer management difficulties, conserves the resources of the

parties and the court system, and would protect the rights of each member of the Class. Plaintiff



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knows of no difficulty to be encountered in the management of this action that would preclude its

maintenance as a class action.

       51.     Defendants have acted on grounds generally applicable to the members of the

Class, thereby making appropriate final injunctive relief with respect to the Class as a whole.

                                          VI.    CLAIMS

A.     Count 1: Violation of 15 U.S.C. § 1693 et seq. and 12 C.F.R. 205 et seq.

       52.     Plaintiff incorporates and re-alleges the above numbered paragraphs by reference.

       53.     Plaintiff asserts this claim on behalf of herself and the Class against Defendants.

       54.     Defendants failed to provide notices to the Plaintiff and the Class as required by

15 U.S.C. § 1693b(d)(3) and 12 C.F.R. § 205.16(c), and imposed a fee in violation of 15 U.S.C.

§ 1693b(d)(3)(C) and 12 C.F.R. §§ 205.16(b) and (e).

       55.     15 U.S.C. § 1693b(d)(3)(C), and its implementing regulation, 12 C.F.R. §

205.16(e) prohibit the imposition and receipt of a fee for conducting an electronic fund transfer

unless a notice of the fee is posted in a prominent and conspicuous location on or at the ATM.

       56.     Defendants imposed and received a fee in violation of 15 U.S.C. §

1693b(d)(3)(C), and its implementing regulation, 12 C.F.R. § 205.16(e).

       57.     As a result of Defendants’ violations of the EFTA, Defendants are liable to

Plaintiff and the class for statutory damages pursuant to 15 U.S.C. § 1693m.

       58.     As a result of Defendants’ violations of the EFTA, Plaintiff and the members of

the Class are entitled to recover costs of suit and their reasonable attorney’s fees.

       59.     Defendants’ conduct is continuing, and, unless restrained, Defendants will

continue to engage in violations of the EFTA.




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                                     REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the members of the Class, prays for:

       A.      An order certifying the Class and appointing Plaintiff as the representative of the

Class, and appointing undersigned counsel as Class Counsel;

       B.      An award to Plaintiff and the members of the Class of statutory damages pursuant

to 15 U.S.C. § 1693m;

       C.      Payment of costs of suit herein incurred pursuant to 15 U.S.C. § 1693m(a)(3);

       D.      Payment of reasonable attorney's fees pursuant to 15 U.S.C. § 1693m(a)(3);

       E.      A permanent injunction enjoining Defendants from engaging in conduct in

violation of the EFTA; and

       F.      For other and further relief as the Court may deem proper.

                                       JURY DEMAND

Plaintiff demands a trial by jury.




                                                    Respectfully submitted,


                                                    TODD AND SPENCER

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